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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION


    ALEKSEJ GUBAREV,
    XBT HOLDING S.A., and
    WEBZILLA, INC.                                                          Case No.
      Plaintiffs,
                                                                       0:17-cv-60426-UU
    v.

    BUZZFEED, INC. and
    BEN SMITH
      Defendants.


                       PLAINTIFFS’ MOTION IN LIMINE #2
          TO PRECLUDE THE INTRODUCTION OF TESTIMONY OR EVIDENCE
         CONCERNING VARIOUS IRRELEVANT/HIGHLY PREJUDICIAL TOPICS

                                                Introduction
           Given Defendants’ repeated attempts to make this case about anything other than what it
   is actually about, it is important to start with a basic reminder of what lies at the heart of this
   case. On January 10, 2017, Defendants published a collection of seventeen privately-produced
   memos that had been created as part of a paid opposition-research assignment for a political
   candidate. The memos were created over the span of many months and only the last of those
   memos is at issue in this case. That memo, referred to herein as the “December Memo,” stated,
   in relevant part, that:
           [Redacted] reported that over the period March-September 2016 a company called
           XBT/Webzilla and its affiliates had been using botnets and porn traffic to transmit
           viruses, plant bugs, steal data and conduct “altering operations” against the
           Democratic Party leadership. Entities linked to one Aleksei GUBAROV [sic] were
           involved and he and another hacking expert, both recruited under duress by the
           FSB, Seva KAPSUGOVICH, were significant players in this operation. In Prague,
           COHEN agreed contingency plans for various scenarios to protect the operations,
           but in particular what was to be done in the event that Hillary CLINTON won the
           presidency. It was important in this event that all cash payments owed were made
           quickly and discreetly and that cyber and that cyber and other operators were stood
           down/able to go effectively to ground to cover their traces.




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          In other words, Buzzfeed’s publication accused Plaintiffs of: (1) specifically using
   botnets and porn traffic to transmit viruses, plant bugs, steal data, and conduct “altering
   operations” against the Democratic Party Leadership, (2) being agents of the FSB, (3) being part
   of an elaborate conspiracy that would need to go into hiding if Hillary Clinton had won the
   Presidency, and (4) (implicitly) attempting to undermine the 2016 United States Presidential
   election. These are the statements that Plaintiffs allege to be defamatory.
          In this Motion, Plaintiffs move for the Court to preclude Defendants from offering
   evidence or testimony at trial concerning: (1) allegations of child pornography being hosted on
   customer websites in Plaintiff’s networks; (2) other allegations of wrongdoing by Plaintiffs’
   customers on Plaintiffs’ networks; (3) Plaintiffs’ having, at one point in time, sponsored adult
   entertainment webmaster trade conferences; and (4) evidence of companies in which Mr.
   Gubarev has only passive investments.
                                                Argument
          Federal Rule of Evidence 401 provides, in relevant part, that evidence is only “relevant if:
   (a) it has any tendency to make a fact more or less probable than it would be without the
   evidence; and (b) the fact is of consequence in determining the action.” Federal Rule of
   Evidence 403 provides that the “court may exclude relevant evidence if its probative value is
   substantially outweighed by a danger of one or more of the following: unfair prejudice,
   confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting
   cumulative evidence.” Bowe v. Pub. Storage, 2015 U.S. Dist. LEXIS 178180, at *12 (S.D. Fla.
   June 2, 2015). Additionally, “because of the powerful and potentially misleading effect of expert
   evidence, sometimes expert opinions that otherwise meet the admissibility requirements may still
   be excluded by applying Rule 403.” Edwards v. Shanley, 580 F. App'x 816, 823 (11th Cir. 2014)
   (citation omitted).
          Pursuant to Federal Rule of Evidence 801(c), “‘Hearsay’ means a statement that: (1) the
   declarant does not make while testifying at the current trial or hearing; and (2) a party offers in
   evidence to prove the truth of the matter asserted in the statement.” Although experts may
   sometimes rely on hearsay in forming their expert opinions, an expert cannot, simply by virtue of
   being an expert, include in his report or testimony hearsay that fall outside the expert’s area of
   expertise. Bowe v. Pub. Storage, 2015 U.S. Dist. LEXIS 178180, at *27-28 (S.D. Fla. June 2,
   2015) (“Dr. Hausman's opinions regarding the economic factors surrounding the self-storage

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   market and the economic reasonableness of the access fee are irrelevant to this inquiry. Dr.
   Hausman’s relevant opinions, that a reasonable consumer would not find the access fee
   important, are not based on his expertise and instead constitute a presentation of other evidence
   in the guise of an expert opinion.” (citing Marvel Characters, Inc. v. Kirby, 726 F.3d 119, 136
   (2d Cir. 2013) (“[A] party cannot call an expert simply as a conduit for introducing hearsay
   under the guise that the testifying expert used the hearsay as the basis of his testimony.”))).
   I.     Defendants Should be Precluded from Offering Evidence or Testimony Concerning
          Allegations of Child Pornography Being Hosted on Plaintiffs’ Networks.
          Few topics are more of a third-rail than child pornography, whether generally or more
   specifically when it comes to hosting providers. To be absolutely clear, Plaintiffs have zero
   tolerance for the use of their servers or networks by customers to host child pornography; they
   immediately remove any such materials when if they are made aware of their existence on their
   networks, and they cooperate fully with every local, national, and international law enforcement
   agency that alerts them to allegations that customer websites contain child pornography.
   Additionally, there has never been any suggestion – either in this litigation or otherwise – that
   Plaintiffs themselves have ever had anything to do with child pornography. Instead, Defendants
   have sought to offer (primarily, though not exclusively through the testimony of their expert
   witness, Anthony Ferrante), unsubstantiated hearsay primarily in the form of blog articles (some
   anonymous) from almost a decade ago that suggest that some of Plaintiffs’ customers had
   websites that contained child pornography (without even any allegation that Plaintiffs failed to
   act on them when they found out about it).
          First, there is no question whatsoever that the allegations are contained wholly and
   exclusively within documents that are inadmissible hearsay. The documents offered are
   translations of two Dutch blog articles, an English reprint of one of those articles, and an
   anonymous web posting. As has been discussed in detail in Plaintiffs’ Daubert Motion seeking
   to preclude the admission of testimony from Anthony Ferrante, Plaintiffs’ Motion to Keep
   Certain Materials Under Seal, and Plaintiffs’ Opposition to Defendants’ Motion for Summary
   Judgment on Public Figure Defense, the documents in question are unverified, more than a
   decade old, and some are not even generally available on the Internet anymore.
          In addition, the documents have no relevance to any legitimate facts at issue in this case.
   The allegations contained in the December Memo concerning Plaintiffs have nothing to do with
   child pornography at all, much less allegations that Plaintiffs’ customers had child pornography
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   that was stored on Plaintiffs’ servers. There is also no question but that these allegations are far
   more prejudicial than probative and should be excluded on that basis. (Indeed, given that the
   allegations have no bearing on any actual issue in this case, there is no probative value to them at
   all.)
           To the extent that Defendants are trying to argue not that the documents are relevant to
   the defamatory statements, but rather Plaintiffs’ “reputation,” they remain irrelevant and
   inadmissible. As noted above, the documents are inadmissible hearsay. That Mr. Ferrante
   “considered” them does not alter this calculation. In addition, given that the documents are
   either not available on the internet or not indexed in a way that anyone would find them means
   that they do not – in actuality – speak to Plaintiffs’ “reputation.” Moreover, Mr. Ferrante lacks
   any expertise that would allow him to speak to Plaintiffs’ “reputation.” Indeed, Mr. Ferrante
   admitted during his deposition that, prior to being retained by Defendants he had never heard of
   either Webzilla or XBT Holdings and that he only vaguely remembered hearing Mr. Gubarev’s
   name in some “media reporting.” Ferrante Depo. (Dkt No. 248-4), pp. 16-17. Mr. Ferrante also
   admitted not only that he did not know if the allegations made in the reports about Webzilla
   having hosted customer sites that contained child pornography were true, but that it would not
   make a difference to his “data points” if the reports were wholly false. Id., pp. 162-173.
           In sum, Mr. Ferrante’s so-called “reliance” on decade-old inadmissible hearsay (that he
   did not know if was true or not); that was not generally available on the internet, in order to
   opine about Webzilla’s “reputation,” which is outside his area of expertise, cannot possibly be
   properly allowed to be put into evidence.
   II.     Defendants Should be Precluded from Offering Evidence or Testimony Concerning
           the Actions of Plaintiffs’ Customers as Opposed to Plaintiffs Themselves.
           The December Memo does not allege that Plaintiffs’ customers utilized Plaintiffs’
   infrastructure to use “botnets and porn traffic to transmit viruses, plant bugs, steal data and
   conduct ‘altering operations’ against the Democratic Party leadership;” it alleges that the
   Plaintiffs themselves did these things. This issue has been discussed at length in Plaintiffs’
   Daubert Motion to exclude the testimony of Anthony Ferrante (which Plaintiffs incorporate by
   reference herein) and will not be repeated in detail. However, a few points do need to be stressed
   here.
           First, it is important to note that there isn’t even any evidence that Plaintiffs’ customers
   were actually connected to any of the things alleged in the December Memo. Instead, Mr.
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   Ferrante opined only that an IP address owned by an XBT subsidiary and used by one of
   Plaintiffs’ customers was one of dozens of IP addresses that had generated a number of similar
   bitly links, one of which had been clicked on by John Podesta, which compromised the DNC’s
   computers. Mr. Ferrante acknowledged that he had no way of knowing if “the bitlink created
   using the Root S.A. IP address was ever sent to or received by John Podesta.” Ferrante Report
   (Dkt. No. 248-2), p. 14; Ferrante Depo. (Dkt No. 248-4), pp. 92-96. The importance of this
   point, however, can hardly be overstated. If the December Memo had said, for example, that
   Amazon CEO Jeff Bezos was a Russian spy who had hacked into the Democratic National
   Committee in order to influence the 2016 Presidential election, it would be no defense to say that
   a website operated by Harvard Medical School (which hosts its websites with Amazon Web
   Services) was involved in suspicious activities. That is what Defendants attempt to do here.
           Aside from this non-evidence concerning something that allegedly occurred on one of
   Plaintiffs’ customers’ servers, none of the other evidence about Plaintiffs’ customers that
   Defendants want to admit into evidence have anything to do with the specific allegations
   contained in the Dossier. Instead, Defendants seek to offer evidence about other instances in
   which Plaintiffs’ “infrastructure” was allegedly misused by its customers in ways unrelated to
   the allegations in the December Memo. Indeed, Mr. Ferrante repeatedly testified that his
   assignment was only “to conduct a technical investigation and collect evidence that links XBT
   infrastructure to the described malicious cyber activity in the Steele dossier” and that his
   conclusions and opinions were related only to the use of Plaintiffs’ computer infrastructure. See
   extensive quotations from Ferrante Deposition, detailed in Ferrante Daubert Motion (Dkt. No.
   248-1), pp. 4-5. Mr. Ferrante’s testimony makes clear that the exclusive purpose of this evidence
   is an attempt to show that, since Plaintiffs’ customers (allegedly) did bad things on Plaintiffs’
   infrastructure in the past, it would be fair for a jury to conclude that Plaintiffs’ infrastructure was
   misused here as well. See, e.g., Ferrante Depo. (Dkt. No., 248-4), p. 88 (“It’s my opinion that
   XBT and its infrastructure -- XBT infrastructure is linked to a pattern of significant malicious
   activity.”).
           Indeed, Mr. Ferrante goes a step further and argues that – even if Plaintiffs’ customers
   did bad things at a time that they were not customers of Plaintiffs and not utilizing Plaintiffs’
   infrastructure – that this is still evidence from which a jury could and should conclude that
   Plaintiffs’ infrastructure was misused here. See Ferrante Depo. (Dkt. No., 248-4), pp. 148-149

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   (“Q: In 2009 McHost was not a customer of XBT. So how does it possibly reflect on XBT that
   a customer that they did not have at the time this report was written may have done some bad
   things? A. Because it shows a continued pattern of believed -- entities believed to be facilitating
   malicious cyber activity at the hands of Russian state actors utilizing XBT infrastructure at one
   time or another. Q. So these folks, McHost, allegedly did bad things when they were not a
   customer of XBT, and you believe that that reflects poorly on XBT? A. I believe it speaks to the
   type of clientele that they attract. And that’s exactly the data point that I wish to represent.”).
           This is impermissible character evidence on steroids. Fed. R. Evid. 404(b) provides that
   “Evidence of a crime, wrong, or other act is not admissible to prove a person’s character in order
   to show that on a particular occasion the person acted in accordance with the character.” Here,
   Defendants are not even attempting to admit evidence that Plaintiffs acted in conformity with
   alleged prior bad acts, but that Plaintiffs’ customers did so (and, even then, there isn’t even a
   suggestion that Plaintiffs’ customers who allegedly did the bad things in the past are the same
   customers that allegedly did the bad things at issue in this case) or that companies that one day
   became Plaintiffs’ customers (but weren’t at the time of the alleged wrongful acts) did so. There
   is absolutely no basis or reason for such evidence to be admitted.
   III.    Defendants Should be Precluded from Offering Evidence or Testimony Concerning
           Adult Webmaster Trade Conferences.
           This topic, too, has been extensively briefed elsewhere (Plaintiffs’ Memo and Reply in
   support of their Motion for Summary Judgment on Public Figure Defense and Plaintiffs’
   Opposition to Defendants’ Motion for Summary Judgment on the same topic, each of which are
   incorporated by reference herein) and will not be repeated at length here. Again, however, a few
   additional points are unique to the present motion. First, because Defendants have primarily
   argued that evidence concerning the adult webmaster trade conferences was relevant to the
   question of Plaintiffs’ status as private or public figures, it is entirely possible that the Court’s
   ruling on the Parties’ summary judgment motion would render the entire argument moot.
   However, to the extent that the introduction of such evidence or testimony remains a live issue,
   Plaintiffs’ motion here should be allowed because the proffered evidence and exhibits (a) are
   irrelevant, (b) rest in part or in whole on unverified hearsay, and (c) are unduly prejudicial with
   no concomitant probative value.
           Other than arguing that Plaintiffs were somehow limited public figures with respect to a
   public controversy involving Russian attempts to undermine the 2016 U.S. Presidential election
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   because a company in which Mr. Gubarev invested sponsored trade conferences for adult
   webmasters (something which, by Defendants’ own accounts had ended four years before they
   published the December Memo), Defendants’ have also suggested that it would be appropriate
   for the jury to consider the alleged bad acts of other conference sponsors and attendees of the
   conferences. Again, this impermissible character-evidence-by-proxy serves no legitimate
   purpose and should be excluded.
   IV.    Defendants Should Be Precluded from Offering Evidence or Testimony Concerning
          Aleksej Gubarev’s Passive Investments in Non-XBT Companies.
          Just as testimony and evidence concerning Plaintiffs’ sponsorship of adult webmaster
   trade conferences has no relevance to any fact to be decided at trial, Mr. Gubarev’s passive
   investment in the companies that helped organize those conferences is even a step further
   removed from relevance. Although it is unclear how or why Defendants would seek to put such
   information before the jury, the amount of time Defendants spent questioning Mr. Gubarev on
   these topics at depositions certainly suggests Defendants’ intent to do so. Again, it would appear
   that Defendants’ real motive is simply to be allowed to say Plaintiffs’ names and the word
   “pornography” together as many times as possible without any actual legitimate purpose.
   Because Mr. Gubarev’s passive investments are irrelevant to any fact in dispute in this case and
   introduction of evidence concerning such investments would be unduly prejudicial and offer no
   probative value, such testimony and evidence should be excluded.
                                              Conclusion
          For the reasons stated hereinabove, Defendants should be precluded from offering
   evidence or testimony at trial concerning: (1) allegations of child pornography being hosted on
   customer websites in Plaintiff’s networks; (2) other allegations of wrongdoing by Plaintiffs’
   customers on Plaintiffs’ networks; (3) Plaintiffs’ having, at one point in time, sponsored an adult
   entertainment webmaster trade conferences; and (4) evidence of companies in which Mr.
   Gubarev has only passive investments.




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